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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: December 26, 2024.

                                                      ________________________________________
                                                                 MICHAEL M. PARKER
                                                         UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________
                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


    IN RE:                        §
                                  §
    RIC (LAVERNIA) LLC,           §                 Case No. 24-51195-mmp
                                  §
          Debtor                  §                 Chapter 11
                                  §
                                  §
    RIC (LAVERNIA) LLC,           §
                                  §
          Plaintiff               §                  Adversary No. 24-05043-mmp
                                  §
    v.                            §
                                  §
    MILESTONE CAPITAL CRE 1, LLC; §
    LORI DAVES AND JOHN DAVES, AS §
    SUBSTITUTE TRUSTEE; ANDRES §
    CEDILLOS,                     §
                                  §
          Defendants              §

       ORDER GRANTING AGREED MOTION TO AMEND SCHEDULING ORDER

         This matter came before the Court on the Agreed Motion to Amend Scheduling Order (the

   “Agreed Motion”). For good cause shown, IT IS HEREBY ORDERED granting the Agreed

   Motion.




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            IT IS HEREBY FURTHER ORDERED that the Scheduling Order entered in this case

   on August 22, 2024, at ECF No. 6 (“Scheduling Order”) is hereby amended as follows:


          1.       The deadline for all parties asserting or resisting claims for relief to serve on all
   other parties, but not file, the disclosures required by Federal Rule of Civil Procedure 26(a)(1) is
   hereby extended from 9/5/24 to 1/17/25.

          2.      The deadline for the parties to complete discovery is hereby extended from
   11/20/24 to 3/21/25.

          3.     The deadline to file and serve on all other parties all dispositive motions is hereby
   extended from 12/2/24 to 4/18/25.

       4.        Docket call for trial previously set for 1/6/25 at 2:00 pm is hereby CONTINUED.
            Docket call is reset to 5/5/25 at 02:00 PM at San Antonio Courtroom 1, Hipolito
  F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San Antonio, Texas 78205.

          5.     The deadline for submitting the joint pre−trial order and proposed findings of fact
   and conclusions of law is extended from 12/30/24 to 4/28/25.

          6.       To the extent not modified hereby, the Scheduling Order shall remain in full force
   and effect.



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